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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE: ALEX E. JONES                             §
                                                 §   CASE NO. 22-33553 (CML)
                                                 §
                Debtor.                          §   Chapter 7


Alex E. Jones, as debtor and as owner        §
and sole Manager of Free Speech Systems,     §
LLC                                          §
                                             §
              Plaintiffs                     §
vs.                                          § Adversary Pro. No. 24-03238
                                             §
Christopher Murray, as the Chapter 7         §
Trustee and Global Tetrahedron, LLC,         §
Mark Barden, Jacqueline Barden, Francine §
Wheeler, David Wheeler, Ian Hockley,         §
Nicole Hockley, Jennifer Hensel, William     §
Aldenberg, William Sherlach, Carlos M. Soto, §
Donna Soto, Jillian Soto-Marino, Carlee Soto §
Parisi, Robert Parker, and Erica Ash         §
                                             §
              Defendants                     §
______________________________________________________________________________

                       PLAINTIFFS’ EXHIBIT AND WITNESS LIST

       Alex Jones (“Jones”) for himself and on behalf of Free Speech Systems, LLC (“FSS”)

(Jones and FSS are sometimes herein called the “Jones Parties”) files this Witness and Exhibit List

for the hearing to be held on Monday, November 25, 2024, at 2:00 p.m. (prevailing Central Time)

before the Honorable Christopher Lopez at the United States Bankruptcy Court for the Southern

District of Texas, Courtroom 401, 515 Rusk Street, Houston, Texas 77002.




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                                            EXHIBITS

No.         Description                          Offered   Objection Admitted/Not   Disposition
                                                                     Admitted
      1.  Screenshot of InfoWars website
          taken on November 14, 2024 at
          3:04 pm CST
      2. Screenshot taken from Global
          Tetrahedron LLC’s website taken
          on November 21, 2024
      3. Screenshot of Connecticut
          Appellate Court Case Docket
          Sheet taken on November 21,
          2024
      4. November 15, 2024 The Onion Is
          Buying Alex Jones
      5. Global Tetrahedron/Connecticut
          Sales Chart
      6. September 13, 2022 Trial
          Transcript, pp. 74 – 75; l: 23 – 27,
          1-9
      7. September 13, 2022 Trial
          Transcript, pp. 54 – 55; l: 23 – 27,
          1 - 21
      8. September 13, 2022 Trial
          Transcript, pp. 43.1-44.12
      9. November 15, 2021 Transcript
      10. Dist Proceeds Waiver
      11. Jury Charge
      12. Opening Statements
      13. Voire Dire Combined
      14. Chart from Exhibit 3
      15. Plaintiffs’ Complaint – [Judicial
          Notice Docket #1]
      16. Objection to POCs 6 – 21
          [Judicial Notice Docket #705]
          Any pleading or other document
          filed with the Court on the docket
          of the above-captioned chapter 7
          case
          Any exhibit necessary to rebut the
          evidence or testimony of any
          witness offered or designated by
          any other party
          Any exhibit listed by any other
          party


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                                          WITNESSES

       1. Christopher R. Murray, Trustee for Alexander E. Jones bankruptcy case.

       2. Alex Jones, via his sworn declaration [Docket #1-1]

       3. Corporate representative for Global Tetrahedron, LLC.

       4. Walter Cicack

       5. Any witness and rebuttal witnesses listed by any other party.

       Jones Parties reserve the right to amend and/or supplement this Witness and Exhibit List

as necessary in advance of the Hearing. Jones Parties also reserve the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document. Finally,

Jones Parties reserve the right to introduce any previously admitted exhibit.

Dated: November 21, 2024
                                             /s/ Shelby A. Jordan
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                                             CO-COUNSEL FOR ALEX JONES

                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing pleading was served upon all parties
registered to receive notices via the Court’s ECF noticing system on November 21, 2024 as well
as the following parties.

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                                             /s/ Shelby A. Jordan
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